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                                   8                                 UNITED STATES DISTRICT COURT

                                   9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  12   ANDREA BARTZ, CHARLES GRAEBER,
Northern District of California




                                       and KIRK WALLACE JOHNSON,                             No. C 24-05417 WHA
 United States District Court




                                  13
                                                      Plaintiffs,
                                  14
                                               v.                                            PERMISSION TO NEGOTIATE
                                  15                                                         CLASS SETTLEMENT
                                       ANTHROPIC PBC,
                                  16
                                                      Defendant.
                                  17

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                                  19         Although normally counsel may not negotiate a class settlement prior to certification, this

                                  20    order permits counsel to try to do so. We are far enough along that any settlement should

                                  21    come sooner rather than later if the parties prefer that the undersigned judge manage the class

                                  22    approval process, given that the judge will likely take inactive status before the end of the year.

                                  23         IT IS SO ORDERED.

                                  24

                                  25    Dated: May 23, 2025.

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                                  28                                                            UNITED STATES DISTRICT JUDGE
